
ORDER
Based upon the Court’s concurrence with the opinion of the Committee on Professional Responsibility that the crimes of which Ben Daly Bridgeman has been convicted constitute serious crimes, the necessary elements of which reflects upon said attorney’s moral fitness to practice law:
IT IS ORDERED BY THE COURT, that Ben Daly Bridgeman be and is hereby suspended from the practice of law and said attorney’s license to practice is hereby suspended.
It is further ordered that the Committee institute the necessary disciplinary proceedings against Ben Daly Bridgeman, seeking his disbarment or other remedy deemed appropriate, all in keeping with Article XV of the Articles of Incorporation of the Louisiana State Bar Association..
